      NO. 5-01-0120

      IN THE

      APPELLATE COURT OF ILLINOIS

      FIFTH DISTRICT
________________________________________________________________________

THE PEOPLE OF THE STATE OF ILLINOIS,         )  Appeal from the
                                             )  Circuit Court of
     Plaintiff-Appellee,                           )  Montgomery County.
                                             )
v.                                           )  No. 00-TR-3089
                                             )
WALTER E. JETT,                              )  Honorable
                                             )  Dennis M. Huber,
     Defendant-Appellant.                          )  Judge, presiding.
________________________________________________________________________

      JUSTICE RARICK delivered the opinion of the court:
      After a bench trial in the circuit court of Montgomery County, Walter E. Jett (defendant) was
found guilty of driving while license revoked, and he was sentenced to seven days in jail and one
year of conditional discharge.  He argues on appeal that the trial court erred in finding him
guilty, because the provisions of Illinois's driving-while-revoked statute, section 6-303 of the
Illinois Vehicle Code (Code) (625 ILCS 5/6-303 (West 2000)), do not apply when a non-Illinois
driver's license has been revoked by the driver's home state only and not by Illinois.  We disagree
and accordingly affirm.
      The facts of this case are simple.  Defendant was driving in Illinois on May 15, 2000, at
approximately 9:45 p.m., when he was stopped by police for making a turn without using a turn
signal.  When asked for his driver's license, defendant informed the police officer he did not have
one.  The officer ran defendant's name through the computer and discovered that defendant's license
had been revoked by the State of Missouri.  Defendant was arrested, charged, and subsequently
convicted of driving while license revoked.
      We initially note that interpreting or construing a statute is a matter of law subject to de
novo review.  People v. Robinson, 172 Ill. 2d 452, 457, 667 N.E.2d 1305, 1307 (1996).  A fundamental
rule of statutory construction is to give effect to the true intent and meaning of the legislature.
In re A.M.F., 311 Ill. App. 3d 1049, 1051, 726 N.E.2d 661, 664 (2000).  The most reliable indicator
of legislative intent is the language of the statute itself.  Robinson, 172 Ill. 2d at 457, 667
N.E.2d at 1307.  Statutory language must be given its plain and ordinary meaning, and when that
language is clear and unambiguous, we must apply the statute without further aids of statutory
construction.  Robinson, 172 Ill. 2d at 457, 667 N.E.2d at 1307; Boaden v. Department of Law
Enforcement, 171 Ill. 2d 230, 237, 664 N.E.2d 61, 65 (1996).
      It is true that previous versions of section 6-303(a) failed to encompass nonresident drivers.
 Eg., 625 ILCS 5/6-303(a) (West 1994); see People v. Weakley, 176 Ill. App. 3d 274, 530 N.E.2d 1168(1988); People v. Brown, 118 Ill. App. 3d 609, 455 N.E.2d 287 (1983).  The current, amended version
of section 6-303(a), however, includes such drivers:
            "Any person who drives or is in actual physical control of a motor vehicle on any highway
      of this State at a time when such person's driver's license, permit[,] or privilege to do so or
      the privilege to obtain a driver's license or permit is revoked or suspended as provided by
      this Code or the law of another state, except as may be specifically allowed by a judicial
      driving permit, family financial responsibility driving permit, probationary license to drive,
      or a restricted driving permit issued pursuant to this Code or under the law of another state,
      shall be guilty of a Class A misdemeanor."  (Emphasis added.)  625 ILCS 5/6-303(a) (West 2000).
In both Brown and Weakley, the defendant was charged with driving with a revoked or suspended
license in violation of section 6-303(a) for driving in Illinois at a time when his foreign state
driver's license was revoked or suspended.  In both cases, the court held that the statute as it
then existed did not apply to a nonresident driver.  At the time Brown was decided, the pertinent
language of section 6-303(a) read as follows: "Any person who drives a motor vehicle on any highway
of this State at a time when his drivers license or permit or privilege *** to obtain a license or
permit under this Act is revoked or suspended as provided by this Act or any other Act ***."
(Emphasis added.)  Ill. Rev. Stat. 1979, ch. 95½, par. 6-303(a).  The court determined that the
words "Act" and "other Act" both referred to laws "adopted by the Illinois General Assembly and not
acts adopted by the legislatures of other States."  Brown, 118 Ill. App. 3d at 611, 455 N.E.2d at
289.  When Weakley was decided, the pertinent language of section 6-303(a) read as follows: "Any
person who drives or is in actual physical control of a motor vehicle on any highway of this State
at a time when such person's driver's license *** is revoked or suspended as provided by this Code
or any other law ***."  (Emphasis added.)  Ill. Rev. Stat. 1987, ch. 95½, par. 6-303(a).  The court
decided: "Although the legislature has amended section 6-303 following our decision in Brown, it has
in no way responded to the primary points of the Brown decision.  Its substitution of 'this Code or
any other law' for the phrase 'this Act or any other Act' does not reveal the intent to broaden
section 6-303(a) to include foreign State revocations or suspensions."  Weakley, 176 Ill. App. 3d at
276, 530 N.E.2d at 1169.  We believe that replacing "any other law" with "under the law of another
state" clearly reveals "the intent to broaden section 6-303(a) to include foreign State revocations
or suspensions."  There simply is no other logical reason for adding the language "under the law of
another state."  No rule of construction authorizes a court to declare that the legislature did not
mean what the plain language of the statute imports.  Robinson, 172 Ill. 2d at 462-63, 667 N.E.2d at
1310.
      Defendant argues that under such an interpretation of the statute, Illinois could impose
criminal liability for driving while license revoked, even in cases where the revocation was imposed
for criminal conduct unlawful in a foreign state though not proscribed under the laws of Illinois.
While this may be true, our role is limited to giving effect to the intent of the legislature as
expressed through the plain language of the statute; our role is not to determine whether the policy
behind that language is proper or sound.  Robinson, 172 Ill. 2d at 462, 667 N.E.2d at 1310; Boaden,
171 Ill. 2d at 239, 664 N.E.2d at 66.
      For the aforementioned reasons, we affirm the judgment of the circuit court of Montgomery
County.

      Affirmed.

      MAAG, P.J., and CHAPMAN, Melissa, J., concur.


                                        NO. 5-01-0120

      IN THE

      APPELLATE COURT OF ILLINOIS

      FIFTH DISTRICT
___________________________________________________________________________________


THE PEOPLE OF THE STATE OF ILLINOIS,         )  Appeal from the
                                             )  Circuit Court of
     Plaintiff-Appellee,                           )  Montgomery County.
                                             )
v.                                           )  No. 00-TR-3089
                                             )
WALTER E. JETT,                              )  Honorable
                                             )  Dennis M. Huber,
     Defendant-Appellant.                          )  Judge, presiding.

___________________________________________________________________________________

Opinion Filed:   March 14, 2002
___________________________________________________________________________________

Justices:   Honorable Philip J. Rarick, J.

      Honorable Gordon E. Maag, P.J., and
      Honorable Melissa A. Chapman, J.,
      Concur
___________________________________________________________________________________

Attorneys   Daniel M. Kirwan, Deputy Defender, Lawrence J. O'Neill, Assistant Defender,
for   Office of the State Appellate Defender, Fifth Judicial District, Route 15 East, P.O.
Appellant   Box 2430, Mt. Vernon, IL 62864
___________________________________________________________________________________

Attorneys   Hon. James Roberts, State's Attorney, Montgomery County Courthouse, Hillsboro,
for   IL 62049; Norbert J. Goetten, Director, Stephen E. Norris, Deputy Director, Trent
Appellee    M. Marshall, Staff Attorney, Office of the State's Attorneys Appellate Prosecutor,
      Route 15 East, P.O. Box 2249, Mt. Vernon, IL 62864
___________________________________________________________________________________
-----------------------
      NOTICE
Decision filed 03/14/02.  The text of this decision may be changed or corrected prior to the filing
of a Petition for Rehearing or the disposition of the same.


